                             United States District Court
                                      Middle District of North Carolina
                                           324 West Market Street
                                      Greensboro, North Carolina 27402

John S. Brubaker, Clerk                   December 29, 2021                              TELEPHONE:
                                                                                          CIVIL (336) 332-6030
                                                                                          CRIM. (336) 332-6020
                                                                                         ADMIN. (336) 332-6000




Tammy McCrae-Coley
1400 Battleground Avenue
Suite 116-L
Greensboro, NC 27408

          Re:    Tammy McCrae-Coley v Starter Home Programs, Inc., et al.
                 Civil Action 1:21cv666

Dear Ms. McCrae-Coley:

        To date an answer has not been filed by the defendants Starter Home Programs, Inc.,
d/b/a Rentoownhomefinder.com, Starter Home Investing, Inc., d/b/a Rentoownhomefinder.com,
Starter Home Programs, Inc., d/b/a Lending Cloud Homes and Start Home Investing, Inc., d/b/a
Lending Cloud Homes and the court has not received any correspondence from you.

          Within 10 days of the receipt of this letter, advise me if you wish to proceed with this
action.


                                                          Sincerely,

                                                          JOHN S. BRUBAKER, CLERK

                                                          By: /s/ Robin Winchester
                                                                  Case Manager

JSB/rw




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